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                               IN THE UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT

                                                        *
        UNITED STATES OF AMERICA
                                                        *
               v.                                             No. 07-4059 (L)
                                                        *
        PAULETTE MARTIN, et al.
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        *      *       *       *       *       *        *     *        *       *        *     *      *

                               MOTION TO EXTEND TIME FOR BRIEFING

                       Comes now Appellant herein, Paulette Martin, by and through her counsel, Michael

        D. Montemarano, Esq., and Michael D. Montemarano, P.A., as appointed counsel pursuant to the

        CJA, and as lead appellate counsel for the five other Appellants herein, and does move for the

        extension of the time for the briefing of this matter, and in support thereof does state:

                1.     The Joint Brief of Appellants is due on March 23, 2010, per the current briefing order.

                2.     Counsel for Appellants continue to catch up from the over week-long closure of their

        respective offices, and the local U.S. Courthouses and U.S. Attorney’s Office, due to the recent

        snowstorm. As a result, counsel for Appellants have not yet completed assembling their JA cites

        and coordinating issues, as the time allocated for this has been consumed with their again becoming

        current with other time-sensitive obligations in their practices. Four of the six counsel for

        Appellants, are sole practitioners, and one is in a two person firm.

        .       3.     Counsel for Appellant therefore requests that the time for briefing be extended, and

        the due date of the Joint Brief of Appellants be rescheduled to no earlier than April 9, 2010.
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               4.      Counsel for Appellant is authorized to state that counsel for Appellee, Assistant

        United States Attorney Deborah Johnston, consents to the grant of the requested relief.

                                                      Respectfully submitted,




                                                              /s/
                                                      MICHAEL D. MONTEMARANO

                                                      Michael D. Montemarano, P.A.
                                                      5695 Main Street, Suite 201
                                                      Elkridge, Maryland 21075-5016
                                                      (410) 379-0067/Fax 540-9950
                                                      Counsel of Record/CJA Counsel
                                                            For Appellant


                                        CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on or before this 4th day of March, 2010, a copy of the foregoing
        Motion to Extend Time for Briefing was filed via CM-ECF, and served via direct email, on Deborah
        Johnston, Assistant United States Attorney, 400 US Courthouse, 6500 Cherrywood Lane, Greenbelt,
        MD 20770, counsel for Appellee.



                                                             /s/
                                                      MICHAEL D. MONTEMARANO




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